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 1   DANIEL BRODERICK, Bar #89424
     Federal Defender
 2   Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JAMES DAVID PARIS
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,          ) No. CR-S-07-391 LKK
                                        )
13                  Plaintiff,          )
                                        )  ORDER AFTER HEARING
14        v.                            )
                                        )
15   CLARISO GLADYS TORRES, et al.,     )
                                        )
16                                      ) Judge: Hon. Lawrence K. Karlton
                                        )
17                  Defendant.          )
18   _______________________________
19
          This matter came before the Court for Status Conference on June
20
     17, 2008, in the courtroom of the Honorable Lawrence K. Karlton, U.S.
21
     District Court Judge.    The government was represented by its counsel,
22
     Assistant United States Attorney Robin Taylor.        Defendant John David
23
     Paris and his counsel, Supervising Assistant Federal Defender Dennis S.
24
     Waks were also present, as was Scott Cameron, attorney for co-defendant
25
     Clarisol Gladys Torres; Ms. Torres failed to appear.         A warrant was
26
     issued for defendant, Clarisol Gladys Torres.
27
          Defense counsel requested that the matter be set for further
28
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 1   status conference on July 8, 2008 at 9:30 a.m. for defendant James
 2   David Paris.
 3         The parties agreed on the need for additional time to allow for
 4   defense preparation.
 5            IT IS HEREBY ORDERED that this matter be set for further Status
 6   Conference on July 8, 2008 at 9:30 a.m..
 7            IT IS FURTHER ORDERED that pursuant to 18 U.S.C. § 3161
 8   (h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4), the period
 9   from June 17, 2008 to and including July 8, 2008 is excluded from the
10   time computations required by the Speedy Trial Act due to ongoing
11   preparation of counsel.
12   DATED: June 27, 2008
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     Proposed Order/Landry/CR-S-06-501-LKK    3
